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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  MOHAMMED ABDULMALIK,

                 Petitioner,

                       v.                       Civil Action No. 08-1440 (CKK)

  DONALD J. TRUMP, et al.,

                 Respondents.


                                      STATUS REPORT

       Pursuant to the Court’s Minute Order of October 27, 2016, the Petitioner submits this status

report. Respondents’ counsel has also reviewed this report.

       Since the last status report of October 26, 2016, (ECF No. 241), counsel has been in contact

with Petitioner’s Periodic Review Board (PRB) personal representative and is attempting to obtain

additional information and documentation that can be used to seek reconsideration for the next

PRB hearing.    Undersigned counsel, therefore, requests that the Court grant an additional six-

month extension of the stay of this matter to and including October 30, 2017.

       Pursuant to LCvR7(m), counsel has met and conferred with counsel for the Department of

Justice, Robert Prince, who does not oppose this request.

       The Petitioner proposes to file another Status Report at the conclusion of the six-month

period of the Stay.
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Dated: April 26, 2017         Respectfully submitted,

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                              Federal Public Defender
                              Ohio Bar: 0051928


                              /s/ Darin Thompson
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